Case 1:11-cv-01611-MSK-CBS Document 46 Filed 02/24/12 USDC Colorado Page 1 of 4




                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO


  Civil Action No. 11-cv-01611-MSK-CBS

  WESTERN CONVENIENCE STORES, INC., a Colorado corporation; WESTERN TRUCK
  ONE, LLC, a Colorado limited liability company,

          Plaintiffs and Counterclaim Defendant,

  vs.

  SUNCOR ENERGY (U.S.A.) INC., a Delaware corporation,

          Defendant, Counterclaimant, Third-Party Plaintiff,

  vs.

  HOSSEIN and DEBRA LYNN TARAGHI,

          Third-Party Defendants.


         MOTION FOR ENTRY OF STIPULATED PROTECTIVE ORDER

          The parties, through the undersigned counsel for Suncor Energy (U.S.A.) Inc. (“Suncor”),

  move for the entry of the attached stipulated Protective Order.

                    CERTIFICATE OF COMPLIANCE WITH RULE 7.1(A)

                 The undersigned counsel for Suncor certifies that he conferred with counsel for

  Plaintiffs and Third Party Defendants, Mr. Kenneth Bennington, and that he agrees with and

  joins in this Motion for Entry of Stipulated Protective Order and has authorized the undersigned

  to so state.

          As further grounds for this Motion, the parties state as follows:
Case 1:11-cv-01611-MSK-CBS Document 46 Filed 02/24/12 USDC Colorado Page 2 of 4




         1.      On November 1, 2011, the parties filed their proposed Scheduling Order [#25] in

  which they stated in Section 6(f) that they had agreed on most of the terms of a protective order

  but could not agree on a few terms which they requested Magistrate Shaffer to resolve. The

  protective order was attached as Exhibit B to the proposed Scheduling Order.

         2.      Magistrate Shaffer ruled on the dispute and also directed the parties to make other

  changes to their proposed protective order, after which he said he would enter the protective

  order. The parties made the changes the Magistrate directed. Attached as Exhibit 1 is a redlined

  version of the original protective order showing all the changes that were made. A clean, non-

  redlined version is attached as Exhibit 2.

         3.      Accordingly, the parties move for the entry of the Protective Order attached as

  Exhibit 2 to this Motion.

         Dated February 24, 2012

                                               Respectfully submitted,


                                               s/Anthony J. Shaheen
                                               HOLLAND & HART LLP
                                               Post Office Box 8749
                                               Denver, CO 80201-8749
                                               Phone: 303-295-8054
                                               Fax: 303-291-9126
                                               AJShaheen@hollandhart.com

                                               s/ William L. Monts III
                                               J. Robert Robertson
                                               William L. Monts III
                                               HOGAN LOVELLS LLP
                                               555 Thirteenth Street, N.W.
                                               Washington, D.C. 20004-1109
                                               Telephone: 202-637-5600
                                               Fax: 202-637-5910
                                               E-Mail: robby.robertson@hoganlovells.com


                                                  -2-
Case 1:11-cv-01611-MSK-CBS Document 46 Filed 02/24/12 USDC Colorado Page 3 of 4




                                          william.monts@hoganlovells.com
                                    ATTORNEYS FOR DEFENDANT




                                      -3-
Case 1:11-cv-01611-MSK-CBS Document 46 Filed 02/24/12 USDC Colorado Page 4 of 4




                                  CERTIFICATE OF SERVICE
         I hereby certify that on 2/24/2012, I have caused to be electronically filed the foregoing
  with the Clerk of Court using CM/ECF system which will send notification of such filing to the
  following e-mail addresses:

  Kenneth R. Bennington
  Kathleen E. Craigmile
  Adam F. Aldrich
  krb@benningtonjohnson.com
  kec@benningtonjohnson.com
  afa@benningtonjohnson.com

                                                       s/ Susanne Johnson



  5430907_1.DOCX




                                                 -4-
